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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 RICK LOVELIEN et al.,

                         Plaintiffs,

                         v.                            Case No. 1:18-cv-01869 (TNM)

 UNITED STATES OF AMERICA et al.,

                         Defendants.


                                       MEMORANDUM ORDER

        In 2014, Cliven Bundy and his sons were involved in an armed confrontation with federal

agents in Bunkerville, Nevada. After hearing about the standoff, Rick Lovelien and Steven

Stewart (together, the “Plaintiffs”) traveled to Nevada to protest the agents’ presence and actions.

They were subsequently arrested. The U.S. Attorney for the District of Nevada charged them

with eleven criminal counts, including conspiracy to commit an offense against the United

States, conspiracy to impede or injure a federal officer, use and carry of a firearm in relation to a

crime of violence and aiding and abetting, and others. They were prosecuted but ultimately

acquitted for their roles in the standoff.

        The Plaintiffs contend that their arrest, incarceration, and prosecution violated their

constitutional rights and the Federal Tort Claims Act (“FTCA”). They seek $60 million in

damages for the “intentional and malicious acts of the Defendants,” which include the United

States of America and several federal government agencies and officials. Am. Compl. at 29; 4-5.

The United States moved to transfer venue in this case to the United States District Court for the

District of Nevada. Because it finds that the relevant events giving rise to the Plaintiffs’ claims

occurred in Nevada, the Court hereby grants the Government’s motion.
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                                                    I.

        The Plaintiffs allege that the “negligent, reckless, and purposeful acts and omissions of

agents and employees of the U.S. government” render it liable under the FTCA and 28 U.S.C. §

2680(h). Am. Compl. at 27-28. The appropriate venue for claims brought under these statutes is

governed by the FTCA, which provides that any “civil action on a tort claim against the United

States under . . . this title may be prosecuted only in the judicial district where the plaintiff

resides or wherein the act or omission complained of occurred.” 28 U.S.C. § 1346(b).

        The Plaintiffs also allege that federal officials retaliated against them in violation of their

First Amendment rights, used excessive force against them in violation of the Fourteenth

Amendment, and maliciously prosecuted them in violation of the Fourth Amendment. Am.

Compl. at 18-26. Venue for these types of claims is governed by 28 U.S.C. § 1391. See

Cameron v. Thornburgh, 983 F.2d 253, 257 (D.C. Cir. 1993) (applying § 1391(b) to a Bivens

action); Bullock v. Washington Metro. Area Transit Auth., 943 F. Supp. 2d 52, 57 (“Since [42

U.S.C.] Section 1983 contains no special venue provision, the general venue provisions of 28

U.S.C. § 1931 apply.”) (cleaned up). The relevant provision of § 1391 provides that a civil

action may be brought in “a judicial district in which a substantial part of the events or omissions

giving rise to the claim occurred, or a substantial part of property that is the subject of the action

is situated.” 28 U.S.C. § 1391(b)(2).

        “Courts in this circuit must examine challenges to personal jurisdiction and venue

carefully to guard against the danger that a plaintiff might manufacture venue in the District of

Columbia. By naming high government officials as defendants, a plaintiff could bring a suit here

that probably should be pursued elsewhere.” Cameron, 983 F.2d at 256. The location of an

agency’s “headquarters office alone cannot constitute a basis for concluding that venue is




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appropriate in this district,” and the “mere involvement” of “some federal officials who are

located in Washington, D.C. is not determinative of the question of venue.” Patel v. Phillips,

933 F. Supp. 2d 153, 165 (D.D.C. 2013) (cleaned up).

                                                  II.

       Nevada, rather than the District of Columbia, is the proper venue for Plaintiffs’

allegations to be heard. Indeed, the clear requirements of the FTCA’s venue provision and 28

U.S.C. § 1391(b) necessitate a transfer. Neither of the Plaintiffs reside in the District of

Columbia—Rick Lovelien lives in Oklahoma, and Steven Stewart resides in Idaho. Am. Compl.

4. And the relevant acts and omissions giving rise to their claims occurred in Nevada. The

Plaintiffs contend that they “participated in [a] peaceful protest” and exercised their First and

Second Amendment rights in Bunkerville, Nevada. Am. Compl. 7. They allege that federal

officials threatened them with bodily harm, arrested them, charged them with several criminal

counts, maliciously prosecuted them, and withheld exculpatory evidence from them at their trial.

Id. at 7-10. These events all occurred in Nevada. Id.

       The Plaintiffs seek to keep this case here. They contend that, because of the “highly

charged and highly politicized” standoff, and because of President Obama’s “animus towards

Cliven Bundy,” the alleged decision to target the Plaintiffs “could only have originated from

[President] Obama and his Defendants DOJ, the FBI and BLM from their headquarters [in] the

District of Columbia.” Pls.’ Opp. to Mot. to Transfer Venue 5-6, ECF No. 11. Various

Defendants were, according to the Plaintiffs, “strictly acting under the direction of those located

in Washington, D.C.” Id. at 8.

       However, all specific acts and omissions alleged by the Plaintiffs occurred in Nevada,

and the mere naming of high ranking government officials is insufficient to create venue here.



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Cameron 983, F.2d at 256. Additionally, when conduct “occurs in one district but has intended

effects elsewhere, the act ‘occurs’ in the jurisdiction where its effects are directed.” Reuber v.

United States, 750 F.2d 1039, 1047 (D.C. Cir. 1985) (discussing with approval a case where

federal officials’ actions, taken in Utah but directed at a pilot flying over Montana, created venue

in the latter jurisdiction) (abrogated on other grounds).

       In short, the Plaintiffs’ claims should be pursued in Nevada. The allegedly wrongful acts

and omissions were undertaken by the current and former U.S. Attorneys, several Assistant U.S.

Attorneys, state and local law enforcement officials, FBI agents, and a variety of other federal

officials living or working in the state. The Plaintiffs’ vague allegations of a conspiracy reaching

the highest levels of government and implicating members of the current and former presidential

administrations do not justify litigation of the Plaintiffs’ claims here.

                                                   III.

       For these reasons, it is hereby ORDERED that the Government’s Motion to Transfer

Venue is granted. It is further ORDERED that the Clerk of Court shall transfer the matter to the

United States District Court for the District of Nevada, and shall close this case.

       SO ORDERED.



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Dated: October 12, 2018                                TREVOR N. MCFADDEN
                                                       United States District Judge




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